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                                UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18
                                       SAN FRANCISCO DIVISION
19
     ANDREA BARTZ, ANDREA BARTZ, INC.,
20   CHARLES GRAEBER, KIRK WALLACE                     Case No. 3:24-cv-05417
21   JOHNSON, and MJ + KJ, INC., individually
     and on behalf of others similarly situated,
22                                                     DEFENDANT ANTHROPIC PBC’S
                         Plaintiffs,                   ADMINISTRATIVE MOTION TO
23                                                     REQUEST A CASE MANAGEMENT
           v.                                          CONFERENCE ON THE ORDERING
24                                                     OF SUMMARY JUDGMENT AND
     ANTHROPIC PBC,                                    CLASS CERTIFICATION MOTIONS
25
                         Defendant.
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 1          Defendant Anthropic PBC (“Anthropic”) respectfully requests that the Court set a case
 2   management conference so the Parties and the Court can discuss adjusting the case schedule to
 3   resolve a summary judgment motion on fair use prior to addressing class certification. Based on the
 4   recent technology tutorial, it appears that the Parties may not have significant disputes about the
 5   relevant facts regarding the general nature of how large language models function. This common
 6   ground makes the case potentially ripe for summary judgment on the issue of fair use, and deciding
 7   fair use before class certification is more efficient, regardless of the outcome. On February 10, 2025,
 8   Anthropic presented a proposal to Plaintiffs for a revised case schedule to re-order the class
 9   certification and dispositive motion deadlines, without changing the December 1, 2025, trial date.
10   Winthrop Declaration ¶ 3 & Ex. A. 1 After Plaintiffs refused that request, on February 19, 2025,
11   Anthropic requested that Plaintiffs stipulate to this request for a case management conference to
12   discuss this issue with the Court. Id. ¶¶ 4-5 & Ex. B. Plaintiffs also did not agree with that request.
13   Id.
14           Deciding the merits of Anthropic’s fair use defense before Plaintiffs move to certify the
15   class is a more efficient way for the case to proceed. Authors Guild v. Google, Inc., 721 F.3d 132,
16   134 (2d Cir. 2013), is instructive. There, the plaintiff alleged that Google infringed the copyrights
17   of a class by scanning “more than 20 million books” to create a tool to search their text. Id. at 133.
18   The district court certified the class prior to summary judgment, but on interlocutory appeal, the
19   Second Circuit vacated that ruling. Id. at 135. The Court of Appeals held that the district court’s
20   attempt to grapple with Rule 23’s detailed requirements—including “the commonality of plaintiffs’
21   injuries, the typicality of their claims, and the predominance of common questions of law or fact”—
22   was premature in light of the likelihood that those issues will be “necessarily inform[ed] and perhaps
23   moot[ed]” by “resolution of [the] fair use defense in the first instance” on summary judgment. Id.
24   at 134. That holding was prescient, as on remand, the district court ultimately granted summary
25

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      As shown in the email message sent on February 10, 2025, Anthropic proposed that the current
     March 6, 2025, deadline for moving for class certification be moved to August 7, 2025, and the
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     current dispositive motion filing deadline of October 1, 2025, be moved forward to May 22, 2025.
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 1   judgment on fair use, mooting the issue of class certification. Authors Guild, Inc. v. Google Inc.,
 2   954 F. Supp. 2d 282, 284 (S.D.N.Y. 2013), aff’d, 804 F.3d 202 (2d Cir. 2015).
 3          Judge Chhabria recently reached the same result in Kadrey v. Meta Platforms Inc., No. 3:23-
 4   cv-03417-VC (N.D. Cal.), another case in which a putative class contends that a defendant’s large
 5   language model infringes copyright and the defendant asserts, inter alia, a fair use defense. There,
 6   the Court concluded that scheduling summary judgment before class certification was “a way
 7   of . . . adjudicating the case more efficiently . . . .” Winthrop Decl. ¶ 6 & Ex. C (Kadrey Transcript
 8   of Proceedings occurring on January 12, 2024 (ECF No. 85) at 6:12-13). Judge Chhabria noted that
 9   addressing summary judgment before class certification was “a good idea . . . given all the expense
10   and difficulty that would be . . . involved with class certification” and that “there are really no
11   significant disputed issues of material fact.” Id. at 4:7-11. 2 The same efficiencies apply in the
12   present case. The Parties are highly unlikely to dispute which of the named Plaintiffs’ books
13   Anthropic has used in training its large language models. The Parties are also in agreement that the
14   case does not assert claims based on the output of the large language models, which eliminates any
15   potential factual issues regarding whether such outputs infringed any of the Plaintiffs’ works. See
16   generally ECF No. 70 (First Amended Complaint); see also Winthrop Decl. ¶ 7 & Ex. D (ECF No.
17   80 (Technical Tutorial Transcript)) at 62:5-7 (Plaintiffs’ counsel Mr. Nelson stating, “This is not an
18   output copyright infringement.”). Indeed, this case is narrowly focused on purported use during the
19   large language model training process, which is precisely why resolving fair use before class
20   certification presents the same potential efficiency as found in Kadrey and Authors Guild. If the
21   Court rules that Anthropic’s use of the Plaintiffs’ works is a fair use, class certification will become
22   moot, saving the Court and the Parties a significant amount of time and resources.
23           But even if the Court does not grant summary judgment to Anthropic, addressing summary
24   judgment first still presents advantages and efficiencies. In general, “copyright claims are poor
25   candidates for class-action treatment” because “[e]very copyright claim turns upon facts which are
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      Summary judgment briefing in the Kadrey case is set for March and April, 2025. Kadrey, ECF
27   411.

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 1   particular to that single claim of infringement, and separate from all the other claims.” Schneider v.
 2   YouTube, LLC, 674 F. Supp. 3d 704, 717 (N.D. Cal. 2023) (internal quotation omitted). Here, the
 3   record developed for summary judgment likely will shed light on whether Anthropic’s use of any
 4   of Plaintiffs’ copyrighted works in model training harms any of the relevant markets for any of
 5   Plaintiffs’ works under the fourth fair use factor analysis. This record could determine whether
 6   market harm can be demonstrated on a class-wide basis and whether there are “obvious barriers to
 7   classwide proof.” Id. at 724; see also Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013) (requiring
 8   a showing that “damages are capable of measurement on a classwide basis” for class certification).
 9   As another example, in ruling on summary judgment, the Court will have to consider if the fair use
10   analysis here turns on the particular nature of the copyrighted works at issue, which may inform
11   whether this case is properly brought as a class action. See generally Schneider, 674 F. Supp. 3d at
12   712 (noting that the parties submitted “reams of evidence” in summary judgment briefing, and
13   relying on summary judgment evidence in determining class certification). 3
14           Finally, Plaintiffs would not suffer prejudice from an adjustment in the schedule. If
15   Anthropic’s motion for summary judgment on fair use is denied, Plaintiffs may still seek class
16   certification. And, if Anthropic’s summary judgment motion is granted, absent members of the
17   putative class remain free to file suit against Anthropic. 4
18           For these reasons, Anthropic respectfully requests the Court set a case management
19   conference so that the Parties and the Court can discuss adjusting the case schedule to provide for
20   consideration of a motion for summary judgment before consideration of Plaintiffs’ motion for class
21   certification.
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     3
      Plaintiffs have asserted infringement of books in multiple genres, including true crime (The Good
23   Nurse by Plaintiff Graeber and The Feather Thief by Plaintiff Johnson), mystery-thriller (The Lost
     Night by Plaintiff Bartz), medical nonfiction (The Breakthrough: Immunotherapy and the Race to
24   Cure Cancer by Plaintiff Graeber), and historical nonfiction (To Be a Friend Is Fatal: The Fight to
25   Save the Iraqis America Left Behind by Plaintiff Johnson).
     4
       Of course, by requesting that summary judgment be addressed first, Anthropic would be waiving
26   the “one-way intervention rule,” which prevents potential class members from waiting to see how
     the merits of a putative class action are resolved before deciding whether to be part of the class.
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 1                                             Respectfully submitted,
 2

 3   Dated: February 20, 2025              By: /s/ Douglas A. Winthrop

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